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     Attorneys for Defendant
6    MALAMETENIA MAVROMATIS

7
                                    IN THE UNITED STATES DISTRICT COURT
8

9                             FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN FRANCISCO DIVISION
11

12   UNITED STATES,                                     )    Case No.: CR-21-00162-WHO
                                                        )
13                         Plaintiffs,                  )    STIPULATION AND ORDER
14                                                      )    PERMITTING DEFENDANT
                               v.                       )    MAVROMATIS TO TRAVEL OUTSIDE
15                                                      )    OF THE NORTHERN DISTRICT OF
                                                        )    CALIFORNIA
16
     BABAK BROUMAND AND                                 )
17   MALAMETENIA MAVROMATIS,                            )
                                                        )
18                          Defendants.                 )
                                                        )
19

20         I. INTRODUCTION
21            Defendant MAVROMATIS is required to travel for in person meetings as part of her
22   employment.       Currently, defendant MALAMENTENIA MAVROMATIS is not permitted to
23   travel outside of the Northern District of California per her pre-trial release conditions.
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              Therefore, the Parties, through their respective counsel, stipulate to the following
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     agreement permitting MAVROMATIS to travel.
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1          II. STIPULATION
2          The parties hereby stipulate that defendant MALAMENTENIA MAVROMATIS may travel to
3    Alabama, Arizona, Hawaii, Florida, Louisiana, Montana, New York, Oregon, and the State of
4    Washington to facilitate her employment obligations so long as she notifies her pre-trial release
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     officer, and the officer has no objection to Ms. MAVROMATIS embarking on said travel.
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7
     SO STIPULATED:
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9
     Dated: July 9, 2024                                  ______/S/ Juan M. Rodriguez____________
10                                                        MICHAEL J. MORSE
                                                          JUAN M. RODRIGUEZ
11
                                                          Special Assistant United States Attorney
12

13

14   Dated: July 9, 2024                                  ____/S/ Paul H. Nathan ________________
                                                          PAUL H. NATHAN
15                                                        Attorney for Defendant
16                                                        MALAMENTENIA MAVROMATIS

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1                                                  ORDER
2            Based upon the facts set forth in this stipulation of the parties and good cause shown, the
3    Court hereby GRANTS the above stipulation.
4            Defendant MAVROMATIS is permitted to Alabama, Arizona, Hawaii, Florida, Louisiana,
5
     Montana, New York, Oregon, and the State of Washington to facilitate her employment
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     obligations so long as she notifies her pre-trial release officer prior to said travel, and the officer
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     has no objection to Ms. MAVROMATIS embarking on said travel.
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9
     IT SO ORDERED
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11
     DATED:                                        _________________________________________
12                                                 HONORABLE WILLIAM H. ORRICK
13
                                                   United States District Court

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